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                                                                           Third Judicial District, Canyon County
                                                                           Chris Yamamoto, Clerk of the Court
                                                                           By: Ladonna Hale, Deputy Clerk




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Attorneys for Plaintiffs


          IN THE DISTRICT COURT OF THE THIRD ruDICIAL DISTRICT OF

           THE STATE OF IDAHO, IN AND FOR THE COTINTY OF CANYON

                                                                CV14-19-05848
 JEREMIAH PERKINS ANd LINDA                     )   CASE NO.
 PERKINS, Husband and Wife, and as              )
 guardians of the Minor Child Plaintiff, J.P.   )   COMPLAINT AND DEMAND
                                                )   FOR JURY TRIAL
                Plaintiffs,                     )
                                                )
 -VS-                                           )    Fee  Category: A
                                                )    Filing Fee: $221.00
 STRIKE INDUSTRIES, INC., a California          )
 Corporation; STOCKPILE DEFENSE, LLC,           )
 a Nevada corporation; and DOES I-X,            )
 unknown parties,                               )
                                                )
                Defendants                      )
                                                )

        COME NOW, the above-named Plaintiffs, Jeremiah and Linda Perkins, and for cause of

action against Defendants, hereby COMPLAIN AND ALLEGE as follows:




COMPLAINT AND DEMAND FOR JURY TRIAL - I
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                                              PARTIES

         1.    Plaintiffs Jeremiah and Linda Perkins at all times herein mentioned have been and

are residents of Canyon County, Idaho, and are the guardians of the minor child Plaintiff J.P.

         2.    Defendant Strike Industries, Inc. ("Strike") at all times herein mentioned was and

is a California corporation authorized to conduct business within the State of Idaho.

         3.    Defendant Stockpile Defense, LLC ("Stockpile") at all times herein mentioned

was and is a Nevada corporation authorized to conduct business within the State of Idaho.

         4.    The true names of Does     I-X     are unknown. Each of the Defendants, including the

Doe Defendants, is or may be responsible in some manner for     Plaintiffs' damages, either directly or

through the acts and omissions of their agent and employee, and each is or may be the agent and/or

employee of the others. Plaintiffs   will move the Court to allow   amendment when the identities and

roles of the Doe Defendants become known.

                                JURISDICTION AND VENUE

         5.    The Court has jurisdiction over this matter pursuant to Idaho Code $$ 1-705 and

5-5t4.

         6.    Venue is proper, pursuant to Idaho Code $ 5-404 as this cause of action arose

within Canyon County.

                                 GENERAL ALLEGATIONS

         7.    On or aboutNovember 3,20l      S   Mr. Perkinspurchased anlmprovedFlatTrigger("IFT")

manufactured, designed and distributed by Strike for installation on Glock handguns. Mr. Perkins

purchased the IFT from Stockpile, a store selling firearms and firearm accessories, in Ada County,

Idaho.

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         8.          Strike designed and marketed the IFT      as   "drop safe", which Mr. Perkins understood to

mean that     a   handgun on which the IFT was installed could be dropped and would not discharge. Such

safety feature was a primary reason Mr. Perkins purchased the IFT, because Mr. Perkins' wife and

son reside in his home.


         9.          Mr. Perkins,   a   firearm enthusiast and veteran ofthe United States A.rmy having served

multiple combat tours, personally and correctly installed the IFT on his Glock 22 .40 caliber handgun

(the "Glock"). Mr. Perkins possessed extensive experience in safely installing and utilizing after-market


accessories such as the IFT on his firearms.


         10.         Mr. Perkins andhiswife intendedto go shootingonthemomingofDecember25,20IS,

and Mr. Perkins loaded firearms in his truck, including the Glock. Because Mr. Perkins had not yet fixed


a hole in his     huck's tire, the plans to go shooting were abandoned.

         II   .      Mr. Perkins unloaded the firearms from his truck, and at approximately 12:20 p.m. Mr.

Perkins placed the Glock, which was in its holster, on a shelf in the closet where he normally stores

the Glock.

         12.         The Glock fell off the shelf and discharged a round which struck Mr. Perkins in the

right thigh, notwithstanding the installation of the "drop safe" IFT.

         1   3.      Mr. Perkins' wife Linda was approximately two to three feet from Mr. Perkins when

he was struck by the bullet from the Glock. The Perkins' son, J.P., was in his room nearby and came


running when he heard        a   noise, at which time J.P. saw his father bleeding before Linda ordered J.P.

to go outside.

         14.         Mr. Perkins suffered severe injuries as a result of the gunshot wound from the

Glock.

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       1   5.   Strike recalled the IFT in early 2019 "[d]ue to some potential safety issues."

                                          COUNT ONE

                   PRODUCT LIABILITY CLAIMS AGAINST STRIKE



       16.      Plaintiffs reallege and incorporate by this reference all the allegations contained

in Paragraphs 1-15.

       17   ,   By design and when installed on a handgun, the IFT prevents discharges of bullets

even when a handgun is dropped. Mr. Perkins' Glock nonetheless discharged when                 it fell,

despite having the IFT installed thereon. Despite this issue, Strike knowingly and recklessly

distributed the IFT.

                                        A. Strict Liability

       18.      Plaintiffs reallege and incorporate by this reference all the allegations contained

in Paragraphs 1-17.

       19.      Strike at all times relevant hereto was engaged in the business of designing,

manufacturing, planning, assembling, distributing, selling, andlor otherwise placing the IFT into

the stream of commerce.

       20.      Strike expected the IFT to reach consumers, as was the case with the IFT installed

on Mr. Perkins' Glock.

       21.      Upon information and belief, the IFT installed on Mr. Perkins'Glock was

defective, in both manufacturing and design. Such defects rendered the IFT defective under

Idaho law.

       22.      Mr. Perkins was not aware of any defects in the IFT   at any time   prior to installing


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it on the Glock.

           23.   The defective design and/or manufacturing of the IFT was a direct and/or

substantial factor in causing a defective and unreasonably dangerous manufacturing defect in the

IFT.

        24.      The defective design and/or manufacturing of the IFT was a direct and/or

substantial factor in causing the IFT to fail under ordinary use less than two months after

purchase and installation thereof and causing Mr. Perkins' injuries.

           25.   The defective and dangerous design, manufacture and performance of the IFT and

the fact that it was unsafe for its intended use and purpose when employed in a reasonable and

foreseeable manner was knowable by means of scientific knowledge available to Strike and its

officers, directors, and/or managing agents.

        26.      As a direct result of Strike's acts, Plaintiffs have suffered damages in excess of

$100,000.00 to be proven with specificity at trial.
                                                                                        o'drop
        27.      Strike's actions in selling, marketing, and/or distributing the IFT as        safe"

without alerting, advising, warning, timely and properly recalling, or otherwise adequately

informing purchasers and/or users of the IFT of its defective and dangerous nature and/or

character, were reckless or   willful   and constituted a gross deviation from reasonable standards

of care.

           28.   Strike's conduct was reckless and outrageous   as alleged hereinabove,     constituting

an extreme deviation from reasonable standards of conduct, and Lima's conduct was performed

with an understanding of, or disregard for, its likely consequences.

           29.   Plaintiffs reserve this paragraph for the inclusion of   a   claim of punitive damages


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under Idaho Code $ 6-1604.

       30.      Plaintiffs are entitled to recover their attorney fees and costs incurred in the

prosecution of this action pursuant to Idaho Code $$ 12-120, 12-121, Idaho Rules of Civil

Procedure 54(d) and 54(e), and all other applicable state law.

       31.      Should damages be awarded by a jury with regards to this claim, rhe Plaintiffs

should recover double damages against pursuant to Idaho Code $ 18-3307, as Strike is the

offending party which caused Mr. Perkins' injury by the discharge of a firearm.

                                          B. Negligence

       32.      Plaintiffs reallege and incorporate by this reference all the allegations contained

in Paragraphs 1-31   .



       33.      Strike had a duty to provide a reasonably safe IFT that would not fail under

ordinary use.

       34.      Strike failed to exercise ordinary care in the development, design, marketing,

manufacturing, and sale of the IFT. Strike also negligently failed to provide adequate warnings

so as to ensure that potential users of the IFT were fully apprised of the hazards that were

known by, or should reasonably have been known by Strike to exist relative to the IFT.

       35.      Strike's negligence in the design and/or manufacturing of the IFT was a direct

and/or substantial factor in causing the IFT to fail under ordinary use less than two months after

purchase and installation thereof and causing Mr. Perkins' injuries.

       36.      As a direct result of Strike's acts, Plaintiffs have suffered damages in excess of

$100,000.00 to be proven with specificity at trial.

       37.      Strike's actions in selling, marketing, and/or distributing the IFT as "drop safe"


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without alerting, advising, warning, timely and properly recalling, or otherwise adequately

informing purchasers and/or users of the IFT of its defective and dangerous nature and/or

character, were reckless or   willful   and constituted a gross deviation from reasonable standards

of care.

           38.   Strike's conduct was reckless and outrageous    as alleged hereinabove,   constituting

an extreme deviation from reasonable standards of conduct, and Lima's conduct was performed

with an understanding of, or disregard for, its likely consequences.

           39.   Plaintiffs reserve this paragraph for the inclusion of a claim of punitive damages

under Idaho Code $ 6-1604.

           40.   Plaintiffs are entitled to recover their attorney fees and costs incured in the

prosecution of this action pursuant to Idaho Code $$ 12-120, I2-l2I,Idaho Rules of Civil

Procedure 54(d) and 54(e), and all other applicable state law.

           41.   Should damages be awarded by a jury with regards to this claim, the Plaintiffs

should recover double damages against pursuant to Idaho Code $ 18-3307, as Strike is the

offending party which caused Mr. Perkins' injury by the discharge of a firearm.

                                        C. Breach   of lMurranties

           42.   Plaintiffs reallege and incorporate by this reference all the allegations contained

in Paragraphs 1 -41   .




           43.   Strike was a merchant with regards to the IFT.

           44.   In marketing and selling the IFT, Strike expressly and impliedly warranted that it

was reasonably safe, was of merchantable quality, was free from design, manufacturing, andlor

modification defects, and was reasonably fit for its ordinary, intended, foreseeable, and expected


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use, and that such use would not cause injuries of the nature suffered by Mr. Perkins. In

addition, Strike expressly advertised and marketed the IFT as being "drop safe."

           45.   Strike knew or should have known that consumers would use and be subject to

the use of the IFT and would rely upon the representations, skill and judgment of Strike,

including that the IFT was "drop safe", in furnishing products suitable for such purpose. These

warranties were made for the purpose and effect of inducing the public to purchase and use the

IFT.

       46.       The defects were not known to Plaintiffs while IFT should have known of the

dangerous, defective, unfit and unsafe condition of the IFT. As such, Strike breached the

express and implied warranties, including that it was "drop safe", made regarding the IFT.

           47.   Strike's breach of warranties regarding the IFT was a direct and/or substantial

factor in causing the IFT to fail under ordinary use less than two months after purchase and

installation thereof and causing Mr. Perkins' injuries.

           48.   As a direct result of Strike's acts, Plaintiffs have suffered damages in excess of

$100,000.00 to be proven with specificity at trial.

           49.   Strike's actions in selling, marketing, and/or distributing the IFT as "drop safe"

without alerting, advising, warning, timely and properly recalling, or otherwise adequately

informing purchasers andlor users of the IFT of its defective and dangerous nature and/or

character, were reckless or   willful   and constituted a gross deviation from reasonable standards

of care.

           50.   Strike's conduct was reckless and outrageous   as alleged hereinabove,   constituting

an extreme deviation    from reasonable standards of conduct, and Lima's conduct was performed


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with an understanding of, or disregard for, its likely consequences.

       51.    Plaintiffs reserve this paragraph for the inclusion of a claim of punitive damages

under Idaho Code $ 6-1604.

       52.    Plaintiffs are entitled to recover their attorney fees and costs incurred in the

prosecution of this action pursuant to Idaho Code $$ 12-120, I2-I2l,Idaho Rules of Civil

Procedure 54(d) and 54(e), and all other applicable state law.

       53.    Should damages be awarded by       a   jury with regards to this claim, the Plaintiffs

should recover double damages against pursuant to Idaho Code $ 18-3307, as Strike is the

offending party which caused Mr. Perkins' injury by the discharge of a firearm.

                                        COUNT TWO

               PRODUCT LIABILITY CLAIMS AGAINST STOCKPILE

       54.    Plaintiffs reallege and incorporate by this reference all the allegations contained

in Paragraphs 1-53.

       55.    Alternatively, the distributor of the IFT, Stockpile, was   a product   distributor   as is


therefore liable pursuant to Idaho Code $ 6-1407(4).

       56.    The alternative statutory liability of Stockpile, pursuant to Idaho Code $ 6-

1407(4), was the proximate cause of, directly resulted in, and/or substantially contributed to the

injuries sustained by Mr. Perkins and his resulting damages, for which Stockpile is liable.

       57.    Should damages be awarded by a jury with regards to this claim, the Plaintiffs

should recover double damages against pursuant to Idaho Code $ 18-3307, as Stockpile is the

offending party which caused Mr. Perkins' injury by the discharge of a firearm.

                          A. Statutory Liability (Imputed Liability)

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       58.     Plaintiffs reallege and incorporate by this reference all the allegations contained

in Paragraphs l-57.

       59.     Alternatively, the distributor of the IFT, Stockpile, was a product distributor   as is


therefore liable pursuant to Idaho Code $ 6-1407(4).

       60.     The alternative statutory liability of Stockpile, pursuant to Idaho Code $ 6-

1407(4), was the proximate cause of, directly resulted in, and/or substantially contributed to the

injuries sustained by Mr. Perkins and his resulting damages, for which Stockpile is liable.

       61.     Should damages be awarded by a jury with regards to this claim, the Plaintiffs

should recover double damages against pursuant to Idaho Code $ 18-3307, as Stockpile is the

offending party which caused Mr. Perkins' injury by the discharge of a firearm.

                                        B. Strict Liability

       62.     Plaintiffs reallege and incorporate by this reference all the allegations contained

in Paragraphs 1 -61   .




       63.     Stockpile was at all times relevant hereto engaged in the business of distributing

the IFT into the stream of commerce.

       64.     Stockpile expected the IFT to reach its ultimate consumers and to be used by

consumers, including Mr. Perkins.

       65.     The IFT was unsafe for its foreseeable use and was otherwise defective and

unreasonably dangerous as described herein.

       66,     The acts and omissions of Stockpile and the unreasonably dangerous                and

defective nature of the IFT were the proximate cause of, directly resulted in, and/or substantially

contributed to the injuries sustained by Mr. Perkins and his resulting damages, for which

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Stockpile is liable

       67.     Stockpile's actions, as alleged herein, were reckless or willful and constituted a

gross deviation from reasonable standards ofconduct.

       68.     Stockpile's conduct was reckless and outrageous   as alleged herein,   constituting an

extreme deviation from reasonable standards of conduct, and Stockpile's conduct was performed

with an understanding of, or disregard for, its likely consequences.

       69.     Plaintiffs reserve this paragraph for the inclusion of a claim of punitive damages

under Idaho Code $ 6-1604.

       70.     Plaintiffs are entitled to recover their attorney fees and costs incurred in the

prosecution of this action pursuant to Idaho Code $$ 12-120,       I2-l2l,Idaho Rules of Civil

Procedure 54(d) and 54(e), and all other applicable state law.

       7I.     Should damages be awarded by a jury with regards to this claim, the Plaintiffs

should recover double damages against pursuant to Idaho Code $ 18-3307, as Stockpile is the

offending party which caused Mr. Perkins' injury by the discharge of a firearm.

                                         C. Negligence

       72.     Plaintiffs reallege and incorporate by this reference all the allegations contained

in Paragraphs 1-71.

       73.     Stockpile failed to exercise ordinary care in the distribution ofthe IFT. Stockpile

also failed to provide adequate warnings so as to ensure that purchasers of the IFT such as Mr.

Perkins were fully apprised of the hazards that were known by, or should reasonably have been

known by, Stockpile to exist relative to the IFT.

       74.     Stockpile negligently distributed a dangerous and defective product, the IFT.

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       75.      As a direct result of Stockpile's negligent acts, Plaintiffs have suffered damages

in excess of $100,000.00 to be proven with specificity at trial.

       76.      Stockpile's actions, as alleged herein, were reckless or willful and constituted   a


gross deviation from reasonable standards ofconduct.

       77   .   Stockpile's conduct was reckless and outrageous as alleged herein, constituting an

extreme deviation from reasonable standards          of   conduct, and Stockpile's conduct was

performed with an understanding of, or disregard for, its likely consequences.

       78.      Plaintiffs reserve this paragraph for the inclusion of a claim of punitive damages

under Idaho Code $ 6-1604.

       79.      Plaintiffs are entitled to recover their attorney fees and costs incurred in the

prosecution of this action pursuant to Idaho Code $$ 72-120, 12-121, Idaho Rules of Civil

Procedure 54(d) and 54(e), and all other applicable state law.

       80.      Should damages be awarded by a jury with regards to this claim, the Plaintiffs

should recover double damages against pursuant to Idaho Code $ l8-3307, as Stockpile is the

offending party which caused Mr. Perkins' injury by the discharge of a firearm.

                                    D. Breaclt of ll/arranties

       81.      Plaintiffs reallege and incorporate by this reference all the allegations contained

in Paragraphs l-80.

       82.      Stockpile was a distributor of the IFT.

       83.      Stockpile impliedly warranted that the IFT was reasonably safe, was of

merchantable quality, and was reasonably     fit for its intended purpose.

       84.      Stockpile knew or should have known that consumers would use and be subject to


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the use of the IFT and would rely upon the representations, skill and judgment of Stockpile in

furnishing products suitable for such purpose.

       85.    The IFT was not safe, merchantable, nor         fit for its intended   purpose. As such,

Stockpile breached the implied warranties made concerning the IFT.

       86.     Stockpile's breach of warranties regarding the IFT was      a   direct and/or substantial

factor in causing the IFT to fail under ordinary use less than two months after purchase and

installation thereof and causing Mr. Perkins' injuries.

       87.    Stockpile's actions, as alleged herein, were reckless or willful and constituted         a


gross deviation from reasonable standards ofconduct.

       88.    Stockpile's conduct was reckless and outrageous as alleged herein, constituting an

extreme deviation from reasonable standards          of    conduct, and Stockpile's conduct was

performed with an understanding of, or disregard for, its likely consequences.

       89.    Plaintiffs reserve this paragraph for the inclusion of a claim of punitive damages

under Idaho Code $ 6-1604.

       90.    Plaintiffs are entitled to recover their attorney fees and costs incured in the

prosecution of this action pursuant to Idaho Code $$ 12-120,          l2-l2l,Idaho Rules of Civil

Procedure 54(d) and 54(e), and all other applicable state law.

       91.    Should damages be awarded by       a   jury with regards to this claim, the Plaintiffs

should recover double damages against pursuant to Idaho Code $ 18-3307, as Stockpile is the

offending party which caused Mr. Perkins' injury by the discharge of a firearm.

                                      COUNT THREE

                 Negligent Infliction of Emotional Distress (All Defendants)


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         92.     Plaintiffs reallege and incorporate by this reference all the allegations contained in

Paragraphs     I through 91 above     as   if   set out   in full.

         93.     By their actions detailed herein above,             Defendants have negligently and/or

intentionally caused Plaintiffs to suffer extreme mental anguish and emotional distress which

distress has resulted in physical manifestations including insomnia, depression and anxiety.

         94.     As such, Plaintiffs are entitled to recover monetary damages from the Defendants

representing fair and reasonable compensation for the emotional distress suffered by Plaintiffs as

a   result of the wrongful conduct alleged hereinabove in an amount in excess of       $   1   00,000.00 to be

proven attrial.

          95.    Plaintiffs reserve this paragraph for the inclusion of a claim of punitive damages

under Idaho Code $ 6-1604.

          96.    Plaintiffs are entitled to recover their attomey fees and costs incurred in the

prosecution of this action pursuant to Idaho Code $$ 12-120, I2-72I,Idaho Rules of Civil

Procedure 54(d) and 54(e), and all other applicable state law.

                                     DEMAND FOR .TIIRY TRIAI,

         Plaintiffs demand   a   trial by jury of no less than twelve (12) persons on all issues     so   triable

pursuant to Idaho Rule of Civil Procedure 38(b).

         WHEREFORE, Plaintiffs pray for Judgment of this Court as follows:

          1.     For money damages for Plaintiffs from Defendants under the theories of

negligence, strict product liability, breach of warranties, and negligent/intentional infliction of

emotional distress in a sum to be determined at trial in excess of $100,000.00, and representing


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Plaintiffs' economic damages relating to lost contribution of services, past and future medical,

psychological and counseling care and expenses, pain and suffering, emotional distress,loss of

enjoyment of life, lost wages, and property damage;

              2.            For Plaintiffs' reasonable attorney fees necessitated in this action pursuant to

Idaho Code gg 12-120 and12-121, Idaho Rules of Civil Procedure 54(d) and 54(e),and all other

applicable state law;

              3.            For costs of suit incurred herein; and

              4.            For such other and fuither relief as to the Court is just and equitable.

              DATED this                               day ofJune 2019.

                                                                          ROSSMAN LAW GR UP, PLLC




                                                                          Eric S
                                                                          Attorneys for Plaintiffs


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